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                                  UNITED      STATES    DISTRICT          COURT
                                  EASTERN DISTRICT             OF VIRGINIA
                                        Newport News Division



 ANTONIO DANIEL MCGHEE,


                            Petitioner,

 v.                                                                          Civil No.         4:14cvl40
                                                                          Criminal No.         4:12crl0
 UNITED STATES OF AMERICA,


                            Respondent



                                          OPINION and ORDER


          This    matter      is       before    the    Court       on Antonio         Daniel      McGhee's


  ("Petitioner")            Motion to Vacate,             Set Aside,          or Correct Sentence

  pursuant       to    28    U.S.C.       §    2255.      Petitioner's            §    2255    Motion     and

  associated           memorandum             advance         four        claims,        all       alleging

  ineffective assistance of counsel.                               After reviewing the written

  record,        the        Court       finds     that         an     evidentiary             hearing      is

  unnecessary          because           the     Court's           rulings        do     not       turn   on

  credibility           determinations,                 and         the     record        conclusively

  demonstrates that Petitioner is not entitled to any relief.                                             See

  R.   Gov.     § 2255       Proc.      in U.S.        Dist.       Cts.   8(a).        For the reasons

  discussed below,            Petitioner's § 2255 motion is DENIED.

                             I.    FACTUAL AND PROCEDURAL HISTORY


          In     January          of    2012,    Petitioner           and    two       co-conspirators

  committed       an        armed      robbery     and     carjacking,            resulting         in    the

  theft    of     several         appliances       from        a    delivery      truck       of   a   Sears
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  contractor.        On February 8, 2012,                 a federal grand jury returned

 a     multi-count       indictment             charging    Petitioner              and    codefendant

  Gabriel      Mitchell        ("Mitchell")              with:        (1)     Interference          with

  Commerce      by     Robbery;       (2)        Carjacking;          and     (3)      Brandishing      a

  Firearm during a Crime of Violence.                            ECF No.          1.       On April    5,

  2012, a grand jury returned a multi-count superseding indictment

  which added a new Count,                  Conspiracy to Interfere with Commerce

  by    Robbery,       and     added        a     new     codefendant,              Travis      Williams

  ("Williams").          ECF No.      23.         Following Williams' plea of guilty

  to the conspiracy count and firearm brandishing count,                                        a second

  superseding        indictment        was        returned        charging           Petitioner       and

  Mitchell      with    the    same     four       counts        as    the     first       superseding

  indictment.        ECF No.    64.


         Petitioner pled not guilty to the charges and proceeded to

  a    joint    jury    trial     with          Mitchell.         At        trial,        the   evidence

  revealed      that     Anthony       Wilson           ("Wilson"),         the        delivery    truck

  driver,      was   carjacked by           two men.         Unbeknownst               to Wilson,     his

  delivery       helper       (Williams)           helped        arrange          the      carjacking.

  Having received            information from Williams,                      the       two carjackers

  appeared at an appliance delivery location, displayed a firearm,

  bound Wilson and Williams                     (who was pretending to be a victim) ,

  and later off-loaded the appliances.

         Petitioner testified in his own defense at trial, admitting

  his involvement in the               theft of appliances,                   but disputing:          (1)
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  that there was a gun present;                 and (2) that Wilson was a                "victim"

 or    that he     was    abducted,         instead contending           that Wilson was           a

 willing participant             in the       theft.      See    Trial       Tr.   790-817,      ECF

 No.     104.     At   the     conclusion of       the    jury trial,          Petitioner was

  found guilty of all four counts.                     ECF No.    87.        As to the firearm

  count,    the    jury concluded           that   Petitioner          was    responsible        for

  "brandishing"        the     gun,    thus    triggering        a     seven-year mandatory

  minimum consecutive sentence.                 ECF No.    87;       18 U.S.C.       § 924(c).

          Prior   to     the   jury verdict        being    read        in    open    Court,     the

  undersigned judge noticed what appeared to be a "stray mark" on

  the special verdict form.                 Specifically,        the jury was instructed

  that if they found Petitioner guilty of the firearm count                                 (Count

  4), they should answer the following:

          With respect to Count 4, mark all that apply in regard
          to the firearm. During or in relation to a crime of
          violence the defendant:
                                     Carried the firearm
                                     Brandished the firearm


  ECF No. 87.          The jury completed such form by making a clear and

  obvious       checkmark       on    the     "Brandished        the    firearm"         line    and


  making what appeared to be a partial "stray" mark,                               as contrasted

  with     an   affirmative          selection,    on     the        "Carried      the   firearm"

  line.     While the jury's clear finding that Petitioner brandished

  the firearm likely rendered their election on the lesser offense

  of   carrying the        firearm of         little    legal     significance,          to avoid
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 any confusion,       the Court called counsel to a sidebar to discuss

 the   stray/partial         mark.       After         showing    counsel          Petitioner's

 verdict form,        and stating that the Court's belief was                            that the

 mark next to        "Carried the       firearm"        was a stray mark,            the Court

 proposed asking        the     foreperson        to    clarify       the   jury's        finding,

 and defense counsel agreed to such procedure.                          Trial Tr.          981-83,

 ECF No      103.     Upon    inquiry,      the    foreperson          confirmed         that    the

 mark was      not   an affirmative selection,              and the foreperson then

 used "white-out" provided by the Court to make the verdict form

 clearly reflect        the     jury's unanimous           finding.          Id.    at     983-84.

 The    jury    was     later     polled,       and      each     juror      confirmed           the

 unanimous verdict as read in open court.                       Id. at 985.

       Petitioner's       counsel      thereafter        filed    a    written motion            for

  judgment     of    acquittal       raising      several    grounds,         including          the

  contention that       the     jury was       confused by the              verdict       form    as

 proven by their         "hesitant"      mark.          ECF No.       94,   at     4-5.      After

 briefing was complete,              the Court         issued a written Opinion and

 Order denying such motion.              ECF No. 130.

       Petitioner appealed his conviction,                      and the Fourth Circuit

 affirmed.      ECF No.       170.     Petitioner thereafter timely filed the

  instant § 2255 motion and memorandum in support advancing four

 claims of ineffective assistance,                      the first       three challenging

 trial counsel's performance and the fourth challenging appellate

 counsel's performance.              ECF Nos.     183,    187.     The Government filed
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 a brief in opposition as well as an affidavit from Petitioner's

 trial counsel.1              ECF Nos.        190,   191,    194.         Petitioner filed two

 unsworn reply briefs,                one responding to counsel's affidavit and

  the other responding to the Government's opposition brief.                                       ECF

 Nos. 195, 196.           This matter is therefore ripe for review.

                                     II.    STANDARD OF REVIEW


         A federal prisoner,                in custody,      may collaterally attack his

  sentence or conviction by moving the district court "to vacate,

  set aside or correct                the    sentence."        28    U.S.C.       § 2255(a).        To

  obtain such relief,                a petitioner must prove by a preponderance

  of the evidence that his sentence or conviction was "imposed in

  violation        of   the    Constitution          or    laws     of    the    United      States,"

  that the district court "was without jurisdiction to impose such

  sentence,"       that the sentence exceeds "the maximum authorized by

  law," or that the sentence or conviction is "otherwise subject

  to collateral         attack."            Id. ; Miller v.       United States,             261   F.2d

  546,       547   (4th       Cir.     1958).         Because        a     §    2255   motion       "is

  ordinarily presented to the judge who presided at the original

  conviction and sentencing . . . the judge's recollection of the

  events      at    issue"      may        inform    the     resolution          of    the    motion.

  Blackledge v. Allison,              431 U.S.       63,    74 n.4       (1977) .

         A    § 2255 motion is,             in essence,       a statutory federal habeas

  corpus      action that enables a petitioner to collaterally attack

  1 Trial counsel submitted such affidavit only after being ordered to do so
  by the Court.
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  his     sentence           or        conviction            through        the     filing      of     a     new

  proceeding,          as       contrasted with a direct appeal.                            United States

  v.    Hadden,       475 F.3d 652,                  663   (4th Cir.    2007).           The existence of

  the     right       to    pursue          a    collateral         attack        does    not   displace        a

  direct appeal as the                      "usual and customary method of correcting

  trial    errors."              United States v. Allgood,                        4 8 F.    Supp.     2d    554,

  558    (E.D. Va.          1999).

          Although a petitioner advancing new claims asserted for the

  first     time           in     a     §       2255       motion     must        generally         "clear      a

  significantly higher hurdle than would exist on direct appeal,"

  United States v. Frady, 456 U.S. 152, 166 (1981), a freestanding

  claim of ineffective assistance of counsel is properly asserted

  for     the    first          time    in       a    §    2255   motion,     see    United        States     v.

  King,    119        F.3d 290,         295          (4th Cir.      1997)    ("[I]t is well            settled

  that    *a claim of             ineffective assistance should be raised in a                                28

  U.S.C.    § 2255 motion in the district court rather than on direct

  appeal,            unless       the           record       conclusively           shows       ineffective

  assistance.'"             (quoting United States v. Williams,                             977 F.2d 866,

  871     (4th       Cir.       1992))).             Such    rule    exists       because       the    Federal

  Rules     Governing             §     2255         Proceedings       permit        expansion         of    the

  record, which is generally unavailable on direct appeal.                                             United

  States        v.     Baptiste,            596       F.3d    214,     216    n.l        (4th   Cir.       2010)

  (citing Massaro v. United States,                               538 U.S.    500,       504-06,     (2003)).
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          The     Sixth        Amendment        to     the        Constitution            of    the    United

  States provides that "the accused shall enjoy the right ... to

 have     the     Assistance          of    Counsel         for    his    defence."            U.S.    Const,

 amend. VI.         The United States Supreme Court has interpreted the

  right    to     counsel        as    providing a              defendant        "'the     right       to    the

  effective       assistance           of    counsel.'"                 Strickland        v.    Washington,

  466    U.S.     668,     686        (1984)     (emphasis          added)       (quoting        McMann       v.

  Richardson,       397        U.S.    759,     771     n.14       (1970)).          To    obtain      relief

  based on an allegation of                     ineffective assistance,                        a petitioner

  must    establish            both     that:        (1)        counsel's      performance             was    so

  deficient        that         it      fell      below           an      objective            standard       of

  reasonableness;          and        (2)   counsel's            inadequate performance caused

  the    petitioner        prejudice.             Id.       at     687-88.          "[U]nsubstantiated

  and largely conclusory statements"                              are     insufficient          to carry a

  petitioner's burden as to the two prongs of the Strickland test.

  United    States        v.    Turcotte,        405        F.3d       515,   537    (7th       Cir.    2005);

  see United States v.                  Dyess,        730       F.3d 354,      359    (4th Cir.            2013)

  ("[V]ague        and     conclusory           allegations              contained         in    a     §     2255

  petition may be disposed of without further investigation by the

  District Court.")              (quotation marks and citation omitted).

          Satisfying           the      first         prong        of     Strickland            requires        a

  petitioner        to    establish            that    counsel           "made      errors       so    serious

  that     [he]    was    not        functioning           as     the    'counsel'        guaranteed          the

  defendant by the Sixth Amendment."                              Strickland,         466 U.S.         at 687.
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 Reviewing            courts        strongly        presume               that       counsel              exercised

 reasonable professional                    judgment,       and only in                    "relatively rare

  situations" will             a § 2255 motion establish that,                                   "'in light of

 all     the    circumstances,              the    identified              acts       or        omissions         were

 outside the wide range of professionally competent assistance.'"

  Tice    v.    Johnson,        647     F.3d       87,     102        (4th          Cir.        2011)       (quoting

  Strickland,          466     U.S.    at     690) .           As         it    is     all        too       easy    to

  challenge       an    act,        omission,       or     strategy,                once        it    has    proven

  unsuccessful,          "every       effort        [must]           be    made        to        eliminate         the

  distorting           effects         of         hindsight,                   to      reconstruct                 the

  circumstances          of    counsel's          challenged conduct,                      and to          evaluate

  the     conduct            from     counsel's            perspective                     at        the     time."

  Strickland,          466     U.S.     at        689.           A        petitioner's               showing         of

  deficient performance must therefore go beyond establishing that

  counsel's       performance           was       below        average,              because              "effective

  representation is not synonymous with errorless representation."

  Springer       v.    Collins,        586    F.2d        329,       332        (4th       Cir.       1978);        see

  Strickland,          466    U.S.     at    687.         As     recently             reiterated             by     the

  Fourth       Circuit,       the     "basic       lesson"           of    Strickland                is    not     just

  deference but high deference,                     and attorneys are permitted to "be

  selective           and      strategic           without            risking               an        ineffective

  assistance of counsel claim."                          United States v.                   Mason,         774 F.3d

  824,   828,    830    (4th Cir.       2014)       (citations omitted).
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         The     second        prong    of     Strickland         requires         a     petitioner      to

  "affirmatively prove prejudice,"                         which requires a showing that

  "there       is    a     reasonable         probability          that,    but          for    counsel's

  unprofessional           errors,      the result of             the proceeding would have

  been different."              Strickland,         466 U.S.       at 693-94.            "A reasonable

  probability is a probability sufficient to undermine confidence

  in the outcome."               Id.    at 694.           If a petitioner fails to prove

  either of         the two prongs of              the Strickland test,                 the court need

  not evaluate the other prong.                          United States v.              Roane,    378 F.3d

  382,   404    (4th Cir.        2004).

                                          III.      DISCUSSION


                                             A.    Ground One


         Petitioner's first claim alleges that his trial counsel was

  ineffective            for   failing    to       explain       the   advantages          of    entering

  into an "open plea" without a plea agreement,                                admitting guilt to

  all    four felonies charged in the second superseding indictment.

  The    undisputed            facts    clearly          establish       that       defense       counsel

  attempted         to    negotiate       a       plea    deal    with     the      Government          that

  would involve a plea to less than all the charges, but that such

  negotiations           were    not    successful.              There   is,       however,       a   clear

  factual      conflict         between       Petitioner's         sworn       §    2255       motion    and

  his    trial      counsel's          sworn      affidavit       regarding         whether       defense

  counsel advised Petitioner of                      the potential sentencing benefits

  of    entering a plea of guilty to all charges.                                  Cf.    ECF No.       183,
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  at   4,    ECF     No.      190       1M       4-5.         Notwithstanding             such        factual

  conflict,       the    Court      finds         that       an     evidentiary hearing               is not

  necessary,       because        even if         the    Court        assumes     that      Petitioner's

  version     of     events       is     true,          Petitioner          fails     to     demonstrate

  constitutionally deficient performance or resulting prejudice.2

          First     considering          Strickland's                performance          prong,       while

  Petitioner presents evidence in conflict with his lawyer's sworn

  statement       that     the    two    discussed            the    benefits       and    drawbacks      of


  pleading    guilty        without          a    plea       agreement,       Petitioner         does    not

  challenge       his    lawyer's            sworn      assertions          that:     (1)     Petitioner

  "maintained        his         innocence             throughout           the     case";       and      (2)

  Petitioner        only      indicated           a     willingness          to     even     consider       a

  guilty plea as trial drew near.                                 ECF No.     190 HH 4,          6.      Such

  facts     are     further       supported             by        contemporaneous          documentation

  demonstrating          counsel's       efforts             to    secure    a    favorable       outcome.

  See Trial        Tr.   5,      ECF No.         106     (discussing counsel's               efforts       to

  have the Government drop federal prosecution in favor of                                              state

  larceny charges); ECF No.                      190 K 6;           ECF No.       194-1     (documenting

  defense counsel's efforts                      to negotiate a plea deal                   to only the

  conspiracy charge,             which would have avoided the mandatory seven



  2 The undisputed record establishes that Petitioner's counsel explained
  the Guidelines benefit of a credit for acceptance of responsibility as
  well as the risk of an obstruction of justice enhancement if Petitioner
  chose to testify at trial.    ECF No. 194-1, at 13.   Petitioner's claim,
  therefore, is premised on the assertion that, even though he consistently
  protested his innocence to his lawyer, his lawyer should have advised him
  of his right to admit guilt to all charges.

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  year consecutive sentence on the firearm charge).                                       Moreover,          the

  undisputed fact that Petitioner, both outwardly to the Court and

  jury, and in confidence to his lawyer,                              maintained his innocence

  as to all four charges provides important context for analyzing

  counsel's        performance.               See       ECF     No.     190      H 6       ("Mr.        McGhee

  maintained his          innocence throughout the case,"                          but as the trial

  date    approached,           he     expressed             interest       in      "seeing            if    the

  government        would       offer       him     a    plea     agreement,"              which        caused

  defense       counsel        to    make      additional             efforts        to        negotiate        a

  favorable        plea    deal);       ECF       No.    194-1,        at    8     (Petitioner's             own

  sworn affidavit executed after he was convicted indicating that

  "throughout many meetings with counsel I have denied all charges

  against     me    at    the    height       that       they were          attributed           to    me    but

  have always admitted to playing a lesser role of all                                            charges,"

  and    that      Petitioner         "asked      counsel        to    try       and    plea      with        the

  Government"         only     after    his       co-conspirator              pled      guilty);            Trial

  Tr.    5,     ECF      No.    106         (Government's             statement           to     the        Court

  immediately prior to trial:                     "There have been no plea offers made

  by the United States in this case,                           Your Honor.             Both defendants

  have indicated through their lawyers to me that they intended to

  proceed to trial from,               at all stages.").

         In     addition        to    the     above          evidence,       the       record         includes

  Petitioner's        sworn         trial    testimony,          during       which he           repeatedly

  and strenuously asserted,                  under oath,          that while he did agree to


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  help    steal     appliances        from the             delivery     truck,      both    the     truck

  driver and the truck helper were part of the theft scheme,                                         and

  thus,       Petitioner did not commit a robbery or a carjacking,                                    and

  he did not possess a gun.                     Specifically,          Petitioner testified as

  follows:


          . . . I did go along with it. But there was no robbery
          planning.  From what my understanding is,     we were
          supposed to just help them take the stuff off the
          truck and help them dump the stuff.

  Trial Tr. 791, ECF No. 104 (emphasis added).

          And I want to say for the record, because this is the
          first time I ever got to speak throughout this whole
          situation since I've been locked up,    I never once
          threatened         this   man.    I       didn't   know      this   man   until     the
          day    of.     I   never   put        a    gun    to   him    or    anybody      in my
          whole    life.


  Id. at 795 (emphasis added).

          Q:      Okay.      And    where       was    Mr.       Wilson      and   Mr.     Travis
                  Williams     in the Sears truck?
          A.      They were in the back.
          Q.      Okay.  Had   you  or   [Mitchell]                          handcuffed       Mr.
                  Wilson?
          A.      No.
          Q.      Did you duct tape him?
          A.      Everybody was at the free will. Nobody. No sir.
          Q.      Okay. Same with [Williams]? You didn't --
          A.      Yeah.
          Q.      -- tie him up or anything?
          A.      No.


  Id.    at    806-07.


          They was only in the back of the truck for a total of
          maybe 4 0 minutes.  . . .     And they weren' t bound.
          Everyone was at free will. Truth is,    they elected.
          That wasn't part of the plan at all, to my knowledge.
          But they elected to be back there.

  Id. at 809 (emphasis added).

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        Q. Do you understand or do you have any idea of what
        [Williams] and Mr. Wilson are going to do as far as
        explaining  the   lack  of  merchandise or items  or
        appliances on the Sears truck?

        A. For real, I be lying if I said no, do you know what
        I mean? And tell the truth. That's what's really got
        me into all this, because I knew they would have to --
        like there is no other way to explain to your boss
        that  everything's   missing  and  everything  besides
        saying that, yeah, you got robbed. Do you know what I
        mean? So I knew they would, I knew they would, if not
        that day, eventually claim that. But that's not what
        actually happened. And that's why I'm willing to take
        it to this point right now.

  Id. at 813       (emphasis added).

        Q. Antonio, did you take any money from Mr. Wilson?
        A.   Unh-unh.      Unh-unh.
        Q.   No?
        A.   Not   at    all.
        Q. What about Gabriel? To your knowledge did Gabriel
        take any money from Mr. Wilson?
        A. Nobody took anything from anyone. Nobody was beat
        up. Nobody was handcuffed. Nobody was taped. Nobody
        was forced to do this.           Man,      I don't even know them two
        guys, man. I met them for two days. And that's it.
        Q. You did not hit, throw a punch at Mr. Wilson?
        A. No. No. When I first met him my first words                             was
        "what's up." He said "what's up".

  Id. at 815       (emphasis added).

        Q. You would agree with me that you agreed to steal
        some items from the Sears truck, right?
        A. All right...
        Q. Answer my question now.
        A. I'm going to say yes. But I didn't want to steal
        them, no. Just -- to me, I did, it is stealing, it is
        stealing, okay? Do you know what? It is stealing. But
        I just, my, my, to my part of the agreement was just
        help them move the stuff off and let them handle the
        rest.      Let    them   steal   it   and    do   all   that.   But   it    is
        stealing.        I can't lie.    That is stealing.




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          Q. All right.         And you are telling these                    folks on the
         jury here that you did not rob at gunpoint, or with
         [Mitchell], Mr. Wilson?
         A. No. Him or -- nobody had a gun man. Nobody had a
         gun. Nobody had duct tape.   Nobody -- I don' t know
          where      they got     this     duct     tape,     handcuffs        from,     man.
          No.    No.   Unh-unh.     We didn't      -- no.     No.


  Id.    at     816-17 (emphasis           added).         Even     after     his     conviction,

  Petitioner maintained his                innocence as           to   the    federal       charges,

  explaining in his sworn affidavit to the Fourth Circuit that his

  criminal past proves that he would not progress from committing

  petty       crimes    to     committing         "serious     crimes         (especially         with

  weapon)."          ECF No. 194-1, at 8.

          Considering the above,             the Court        finds no evidence in the

  record        that   could    support      the        conclusion      that,       based    on    the

  facts       and    posture    of    this    specific        case,      counsel's          presumed

  failure to discuss an "open plea" with Petitioner constituted an

  error    of       constitutional     dimensions.            While     the     record      evidence

  demonstrates that Petitioner was, at least at one point in early

  June    of 2015,       willing to consider negotiating a favorable plea

  agreement in light of the fact that one of his co-conspirators

  had pled guilty,           this    Court must avoid "the distorting effects

  of    hindsight,"       through      "reconstruct[ing]               the    circumstances         of

  counsel's          challenged      conduct"           and   viewing         the     issue       from

  "counsel's         perspective      at    the    time."         Strickland,        4 66   U.S.    at

  689; cf^ Premo v. Moore,               562 U.S. 115, 125 (2011) (labeling plea

  negotiations "at least as nuanced as the art of trial advocacy,"


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  and explaining that when "determining how searching and exacting

  their review must be,                habeas courts must respect their limited

  role     in determining             whether       there         was    manifest           deficiency       in

  light         of      information             then              available            to         counsel").

  Reconstructing             such    facts    based          on    the    evidentiary             record    of

  this case3 reveals that no reasonable lawyer would have believed

  that there was any possibility that Petitioner would admit guilt

  to four serious federal felonies that he repeatedly asserted he

  did     not   commit,        to     include       a    firearm         charge        that       carried     a

  mandatory          seven    year     term    of       imprisonment.             To        the    contrary,

  Petitioner's         own     sworn     statements            reveal      that        he    consistently

  maintained,         both privately to his                    lawyer and publicly at                     trial

  and to the Fourth Circuit,                  that he was not guilty of the charged

  robbery, carjacking, and firearm offenses.4

          Petitioner          thus     fails        to       demonstrate         that        he     received

  constitutionally deficient representation.                                    Rather,          "the record

  makes clear that Petitioner insisted on contesting" his guilt as



  3 The    evidentiary record includes Petitioner's sworn statements in his
  § 2255 motion,       the affidavits before the Court,                   and the trial transcript;
  i t does not       include unsworn facts          asserted in Petitioner's                 §    2255 briefs.
  See    United      States    v.    White,   366       F.3d      291,   300,    302     (4th      Cir.   2004)
   (holding that unsworn statements contained in a brief                            "do not constitute
  evidence" irrespective of whether i t is the Government,                             or the petitioner,
  seeking to characterize such statements as evidence).

  4 Petitioner's claimed lack of understanding of his ability to admit guilt
  to all four charges is not only unsworn, but it is further undercut by the
  fact that Petitioner appeared in court for his initial appearance/
  arraignment on the second superseding indictment after his co-conspirator
  had elected to plead guilty, yet he persisted in his plea of not-guilty to
  all charges at that time.  ECF No. 70.

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  to   all     the    charges       against       him,       including         the    firearm    charge,

  which would "tend to show that he was not interested in pleading

  guilty     at      all,    without    a    Government            concession         [of some        kind]

  whether pursuant to a written plea agreement or xstraight up' as

  he   [now]      suggests."         Bowens v. United States, No.                      5:07cr50,       2015

  WL   3882342,        at    *6     (W.D.N.C.      June       16,     2015).          Accordingly,         in

  light        of     the      case-specific                facts,        Petitioner          fails        to

  demonstrate         that     counsel's purported failure                       to discuss       a plea

  of guilty to all charges was an "error[]                                so serious that counsel

  was not functioning as the 'counsel' guaranteed the defendant by

  the Sixth Amendment."                Strickland,           466 U.S.       at 687.

          Alternatively,            even     if        the    Court        assumes       that    defense

  counsel's            performance               was         constitutionally                 deficient,

  Petitioner's         hindsight       assertion that                he    would have entered an

  "open      plea"     to     all    four    felony          counts       in     order   to     secure       a

  sentencing benefit fails because:                          (1)    first and foremost,               it   is

  unsworn;          United    States    v.       White,      366     F.3d      291,    300,     302    (4th

  Cir.    2004);       see United States v.                  Rhodes,       No.    3:08cr82,      2013 WL

  150335, at *3 (E.D. Va. Jan. 14, 2013)                             (indicating that "unsworn

  allegations" contained in a petitioner's supplement to a § 2255

  motion     "cannot         constitute      a    basis       for    habeas       relief");      and       (2)

  it     contradicts         undisputed       portions         of     defense         counsel's       sworn




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  affidavit,       and    contemporaneous            record   evidence,        relevant   to

  Petitioner's interest in entering a plea.5

          Petitioner's post-hoc,          self-serving,        and unsworn assertion

  that,     if better informed,         he would have entered an "open plea,"

  is problematic for another reason:                   it does not squarely address

  the fact that,         in order to enter such plea and receive a credit

  for acceptance of responsibility,6 Petitioner would have had to

  admit guilt to an armed robbery and carjacking that he swears he

  did not     commit.      See    Missouri      v.    Frye,   132   S.   Ct.   1399,   1409,

  (2012)     (discussing ineffective assistance at the plea stage in a



  5 Petitioner's newly advanced assertion that he would have freely admitted
  guilt to four felonies that he swears he did not commit in exchange for a
  sentencing concession must be considered in light of the potential benefit
  of such a plea.   Even if Petitioner received the full 3-level credit for
  acceptance of responsibility, and no perjury enhancement, it appears that
  his advisory Guideline range would have been 84-105 months imprisonment
  (25/IV), plus seven (7) consecutive years on the firearm brandishing
  count.  Accordingly, an "open plea" would have yielded an advisory "low-
  end" sentence of 14 years imprisonment.    In contrast, after proceeding to
  trial, the advisory low-end sentence was 135 months, plus 84 months -
  approximately 18 years.   This four year difference is also impacted by the
  2-level  enhancement   for   obstruction of   justice  that  resulted from
  Petitioner's decision to take the stand and testify falsely to the jury.
  But for Petitioner's obstruction, the difference between the "open plea"
  Guideline range and "post-trial" Guideline range is only approximately two
  years at the low-end.      Such calculations illuminate the comparatively
  minimal risk shouldered by Petitioner in pursuing an acquittal as to all
  charges at trial.

  6 An "Alford Plea," or a plea of nolo contendere, also do not appear to be
  viable avenues to plead to all charges and still secure a sentencing
  benefit.  First, a defendant may only enter a plea of nolo contendere with
  the consent of     the Court,      and this   Court would not have accepted such a
  plea in a case involving a carjacking at gunpoint.                See United States v.
  Dorman,    496   F.2d 438,   440    (4th Cir.      1974).   Second,    even if   an Alford
  plea or nolo contendere plea was accepted, such a plea would not involve
  an admission of guilt, and based on the nature of the charges and the
  case-specific record, would almost certainly have resulted in Petitioner
  receiving no credit for acceptance of responsibility.    See United States
  v. Tunstall, 155 F.3d 563 (4th Cir. 1998) (unpublished table opinion).

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  different           context,        but        noting       that       to        show        prejudice,       a

  defendant          must     show    a     "reasonable         probability               the    plea    would

  have been entered" and that the trial court would have accepted

  it).        Contrary to Petitioner's arguments in his memo,                                      this case

  appears       similar to Rosado v.                   United States,              No.     l:10crll,         2015

  WL     3485031       (M.D.N.C.          June    2,    2015),       where         the    district       court

  rejected the           §    2255 petitioner's contention that he would have

  accepted an           "open plea"          if       counsel      had      explained           that   option,

  because       the     record       "establishes           that    Petitioner chose               to go       to

  trial       not     because     of       any    errant       advice         about       his     sentencing

  prospects,          but rather because he wanted to pursue an acquittal."

  Id.    at    *4.


          In sum,        this Court does not need to resolve a                                   credibility

  dispute        in    order     to       decide       Petitioner's           first        §    2255    claim.

  Rather,        even        assuming        that       Petitioner's               version        of    events

  regarding           counsel's       lack       of    advice       is      accurate,           Petitioner's

  claim fails in light of his unwavering position,                                        a position that

  extended           beyond    his    conviction,            that      he     is    not-guilty          of    all

  four federal felonies charged against him.7                                       Moreover,          even if



  7 This Court's view of the record is effectively captured by the opinion
  of another judge of this Court denying a § 2255 motion, which stated:
       There is nothing to indicate that counsel failed to adequately
       represent   Petitioner's  interests at   any point during    the
          underlying proceedings.    As best the Court can discern,
          Petitioner now has buyer's remorse regarding      [the jury's
          verdict] and ultimate sentence.   As Judge Wilkinson recently
          remarked, "buyer's remorse should not be dressed in the garb
          of   an    ineffective      assistance       of    counsel     claim."         United States


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  trial        counsel's          performance          was    constitutionally                 deficient,

  Petitioner's              own       sworn      statements       reveal          the         absence   of

  Strickland prejudice,                  instead demonstrating that:                    (1)    Petitioner

  made the voluntary decision to proceed to trial in an effort to

  prove        his        innocence        through        advancing      a        theory        that,   if

  successful,             would likely have led to acquittals on all charges;

  and    (2)    even at this             late stage in the proceedings,                        Petitioner

  still has not admitted that he is guilty of carjacking,                                        robbery,

  or    use    of     a    firearm,       and     he   therefore    fails         to    demonstrate       a

  reasonable probability that he would have admitted his guilt and

  been entitled              to   a      credit    for      acceptance       of    responsibility.8


        v. Jackson, No. 12-6756, 2014 WL 486673, at *9 (4th Cir. Feb.
        7, 2014) (Wilkinson, J., dissenting).
  Addy v. United States, No. I:13cr57, 2014 WL 1088833, at *5 (E.D. Va. Mar.
  19, 2 014) . While Addy involved a petitioner who challenged his sentence
  after pleading guilty, a post-trial attack on counsel's decision not to
  explore/encourage a guilty plea as to all charges is merely the opposite
  side of the same coin.               See Jackson,       2014 WL 486673,     at *9      (Wilkinson,    J.,
  dissenting) (explaining that "had the lawyer persuaded his client to go to
  trial, and a poor outcome ensued, we would have another ineffective
  assistance of counsel claim before us" and such "darned-if-you-do/darned-
  if-you-don't situation is one in which ineffective [assistance] claims are
  the least justifiable").

  8 The Court has considered the Third Circuit's opinion in United States v.
  Booth,      432    F.3d 542     (3d.    Cir.   2005),   which remanded a         §   2255 case    to the
  district court for an evidentiary hearing with respect to the claim that
  trial counsel was ineffective for failing to discuss an open plea.     The
  instant facts are distinguishable from Booth in several ways, including:
   (1) here, Petitioner had a plausible defense (as contrasted with the
  "overwhelming evidence" of guilt in Booth); (2) here, Petitioner denied
  his guilt throughout the entire case,      including post-conviction    (as
  contrasted with Booth admitting his guilt to several friends who testified
  against him at trial) ; (3) here, a plea to all four charges would have
  involved a seven-year consecutive mandatory minimum (as contrasted with no
  apparent statutory enhancement in Booth had the defendant pled guilty to
  both charges rather than pleading to only the more serious charge offered
  by the Government during plea negotiations); and (4) here, Petitioner
  wanted to prove his innocence at trial and did not want to cooperate with

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  Petitioner having had the benefit of a full and constitutionally

  adequate       representation,                  in-line     with      Petitioner's          consistent

  position that he participated in a property crime,                                      not an armed

  robbery,      his ineffective assistance claim lacks merit,                                 and it is

  therefore DENIED.


                                              B.    Ground Two


         Petitioner's             next        ground        for    relief        alleges       that     his

  counsel       was     ineffective            both     for       failing       to:     (1)   object     to

  misleading language in the special verdict form;                                      and   (2)   object

  to the Court's proposed procedure of confirming with the jury in

  open    court        that       a        "stray     mark"       on    the      verdict       form     was

  unintentional.              For      the    reasons        discussed below,            both subparts

  of Petitioner's second claim are denied.


         First,        as    to       the     wording        on   the    special        verdict       form,

  Petitioner           fails          to     demonstrate           deficient          performance        or

  resulting       prejudice.                 As     discussed        above,       the    verdict       form

  the Government   (as contrasted with Booth's singular desire not to
  cooperate with the Government acting as the "deal-breaker" during plea
  negotiations) . See United States v. Gonzalez-Rivera, 217 F. App'x 166,
  170 (3d Cir. 2007) (distinguishing Booth in part based on the fact that
  the defendant before the court "maintained his innocence throughout these
  proceedings"); Arzola v. United States, No.                          CIV.A. 12-3888 SDW, 2014 WL
  3894258, at *6 (D.N.J. Aug. 8, 2014), cert,                          of appealability denied (May
  29,   2015)   ("District courts in this Circuit have followed Gonzalez-Rivera
  and denied evidentiary hearings when (1) the petitioner claimed his or her
  attorney never informed him or her about an open plea, (2) the petitioner
  maintained his or her innocence throughout the proceedings, and (3) the
  record belied the contention that the petitioner would have accepted a
  plea deal."); United States v. Ontiveros, No. CR S-02-418, 2010 WL 445041,
  at *9 (E.D. Cal.           Feb. 2, 2010),          R&R adopted, No. CRS02-0418GEBGGHP, 2010
  WL 1239305 (E.D.           Cal. Mar. 26,           2010), aff'd sub nom. United States v.
  Ontiveras,     487    F.    App'x 387           (9th Cir.   2012)     ("The    instant case differs
  from Booth in that here,                 movant was unwilling to enter any plea agreement
  with the government because he was unwilling to admit any guilt.").

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  stated    that     the       jury    should     "check        all       that     apply"    and    such

  language     was       followed       by     options         indicating          that     Petitioner

  "Carried the firearm"               and/or    "Brandished the               firearm."        Without

  evidence or a developed argument,                       Petitioner asserts that                   "both

  factors could not apply to a single co-Defendant in any event."

  ECF No.    187,    at 5.       Such unsupported assertion,                       however,    appears

  inaccurate,       as    the jury surely could have found that Petitioner

  both   carried         and   brandished        the     same        firearm       during     the   same

  robbery.      Petitioner,            of    course,      would not          have     been punished

  twice if both options were checked by the jury,                                  but rather,        the

  jury's brandishing finding would act                          to        increase    the    mandatory

  minimum sentence from five years                       to     seven years.              Petitioner's

  motion,    therefore,         does not establish that counsel's failure to

  challenge the verdict form was erroneous in any way.

         Petitioner            likewise         fails          to     demonstrate            resulting

  prejudice,        because      while        there      may    have        been     some    confusion

  regarding whether the                jury concluded that Petitioner carried a

  firearm,     the       jury clearly         and     unanimously made               the    aggravated

  finding that he brandished a firearm.                               Moreover,       the   fact that

  the    jury found Petitioner guilty of brandishing a firearm,                                       but

  only     found     his       trial        codefendant         guilty       of      "possessing"       a

  firearm,     further          demonstrates           that         the    jury     understood        the

  difference,       weighed the evidence,                 and made their findings.                    Cf.

  ECF Nos.    87,    90.       Petitioner's claim therefore fails.



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          Second,        Petitioner's         associated             claim        that     his      counsel

  provided        deficient       performance         by    failing          to    object        when      the

  Court proposed asking the jury about the perceived "stray mark"

  on Petitioner's verdict                   form   fails        to   satisfy either prong of

  Strickland.             Petitioner          asserts           that    counsel            should         have

  insisted that the jury be sent back to the jury room for further

  deliberations;           however,         he     fails        to     demonstrate           that         such

  procedure was          the    only reasonable way                  to handle        the    situation.

  Contrary to Petitioner's claims,                        the Court did not ask the jury

  to     "deliberate"        in      open   court,        but    instead,         merely      asked        for

  clarification of what,               if anything,         was intended by the mark the

  jury had        already         placed     on    the     verdict       form.9            The      Court's

  question was aimed at enhancing the clarity of the record,10 and




  9 The     cases    cited      by    Petitioner      involving        scenarios         where      a     Court
  instructs a jury to resume deliberations to resolve the jury's confusion
  over its own verdict, or to resolve a facially inconsistent or erroneous
  verdict, are distinguishable. See Hafner v. Brown, 983 F.2d 570, 574 (4th
  Cir. 1992); United States v. Rastelli, 870 F.2d 822, 835 (2d Cir. 1989).
  Unlike such cases,  here,  there was not an inconsistent or erroneous
  verdict, but rather, the Court asked a clarifying question on the record
  to ensure that the Court was properly interpreting the jury's written
  findings.  Moreover, the cited cases do not stand for the proposition that
  a Court is barred from asking the jury a clarifying question in open
  court; rather, they hold that i t was proper to order further deliberations
  when    faced   with    the   case-specific      issues       that   were       before    those       courts.
  Based on the case-specific issue in this matter, and the foreperson's
  response to the Court's inquiry (as later confirmed by a jury poll), there
  was simply no reason for the Court to order further deliberations.

  10 After the Court made its inquiry,                     the foreperson confirmed that the
  mark was inadvertent rather than an affirmative indication of the jury's
  verdict.  Trial Tr. 983-84, ECF No 103.   Such representation was made by
  the foreperson in front of the entire jury panel, and i t was likewise
  clear to all jurors that the foreperson was then asked by the Court to use
  "white-out"      to erase     the mark.


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  on     collateral         review,           the     Court        fails       to     recognize          any

  deficiencies in defense counsel's handling of this matter.

            Petitioner's challenge to the clarification procedure also

  fails      to     demonstrate          prejudice          as     required         by    Strickland's

  second      prong.         To    the       extent    Petitioner            asserts      that     he    was

  improperly         sentenced          to    a     seven-year      mandatory            minimum,       such

  sentence was based on the jury's very clear                                     "checkmark"      on the

  verdict form indicating that the jury unanimously concluded that

  Petitioner          was         responsible           for        brandishing            a       firearm.

  Petitioner         fails        to    demonstrate          that      the     purported          lack     of

  clarity regarding whether the jury also checked the "carried the

  firearm"        line has any bearing on the validity of the clear and

  unanimous aggravated finding that Petitioner brandished the gun.

  Moreover,         the   lack of        prejudice         is further demonstrated by the

  fact that after the Court asked the clarifying question and the

  jury      panel     heard       the        foreperson's        response,          defense        counsel

  asked      that    each juror be                polled    in open court            to    ensure       that

  they agreed with            the       verdict.           Trial    Tr.      at    985,    ECF No        103.

  Each juror responded that they agreed with the verdict as read

  in open court.            Id.        Additionally, defense counsel later argued,

  in    a    written      Rule     29    motion,       that      the    verdict          should    be     set

  aside      for various          reasons,          including      jury confusion.                ECF No.

  94.        While    such    motion          was    unsuccessful,           Petitioner       fails        to

  demonstrate         a   reasonable           probability         that      any     other    procedure


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  (such as ordering additional deliberations)                                    would have produced

  a    different   outcome.             For    these       reasons,         Petitioner's            claim    is

  DENIED.


                                         C.    Ground Three


         Petitioner's third ground for relief contends that counsel

  was    ineffective for failing to explain the                                  "mens rea"         elements

  of the offenses and failing to explain any potential affirmative

  defenses.            Having          carefully          reviewed          Petitioner's             motion,

  memorandum       in       support,        reply         memorandum,             and    memorandum          in

  response to      trial          counsel's affidavit,                 Petitioner's            third claim

  remains       somewhat           unclear,          although          it        is      apparent         that

  Petitioner fails to satisfy either prong of Strickland.                                             First,

  to    the    extent        Petitioner        asserts          that    he       was     misled      by     his

  counsel      into believing            that       one    or more          of    the     charges     had a

  lesser included offense of                   "larceny,"         it appears that Petitioner

  may    be    conflating          a    lesser-included            offense,             with    a    defense

  and/or a failure of proof.                        Cf. ECF No.         194-1,          at 7.       While it

  is    true    that    the       jury did          not    have   the       option        of    convicting

  Petitioner of             "larceny,"        the    instructions            of       law given by the

  Court would have required the jury to acquit Petitioner of                                                all

  four    counts       if    they      believed       Petitioner's               testimony       asserting

  that    the    alleged          "victim"      of        the   crimes           was    actually      a     co

  conspirator          in     a     theft      disguised          as        a     robbery.            Stated

  differently,         while       there      was    no     "lesser         included       offense,"         of


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  larceny,      proving       that    only       a    larceny       was     committed would                have

  been     a     complete          defense            to     the       four       federal           charges.

  Accordingly,         Petitioner          fails       to    demonstrate           that       his    counsel

  provided       incorrect        advice,        or    otherwise performed deficiently,

  in advancing a trial defense based on larceny.

         Similarly,          Petitioner's motion is less than clear regarding

  how    he     was    uninformed,          or       misinformed,            about       the    mens        rea

  elements of the charges against him.11                                   Petitioner's own sworn

  statements          to    the   Fourth         Circuit         indicate         that    he        had    many

  pretrial       meetings         with     his       counsel,       and      Petitioner's            unsworn

  response       to    his    trial      counsel's           affidavit           indicates          that    his

  lawyer "did explain              [the]    charges to             [him]    but the elements were

  definitely          not    understood."                  ECF   No.       195.         Even    accepting

  Petitioner's unsworn response as true,                             it is unclear how counsel

  is     alleged       to    have     failed          if     Petitioner           did     not       ask     for

  clarification from his lawyer at the time counsel was explaining

  matters      to him.         Additionally,               Petitioner does not                contest his

  lawyer's       sworn       statement      that       they      "reviewed         and    discussed          at

  length       the    expected      government             evidence        and    how    it    related       to



  11 For example,          Petitioner's § 2255 memorandum broadly asserts that his
  counsel was ineffective for failing to discuss the mens rea elements and
  for failing to "discuss any potential affirmative defenses . . . which
  could have negated the mens rea elements of the charged offenses, or in
  the alternative could have affected the movant's decision to have plead
  guilty, instead of going to trial."    ECF No. 187, at 7.    Petitioner,
  however, fails to identify a single affirmative defense that had some
  potential applicability in this case, nor does he explain                                          how any
  applicable mens rea standard could have  impacted his case                                         or plea
  decision.


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  the    elements          of    the   offenses,"         to    include          "the    strengths      and

  weaknesses of the expected evidence and what                                   [the defense]         could

  do    to    counter       the    evidence."        ECF       No.        190,   at     4.     Petitioner

  also       does    not    dispute       his   lawyer's        sworn assertions                regarding

  the fact that there were not facts supporting the pursuit of any

  true       "affirmative defenses,"             such as            entrapment or duress.                Id.

  Petitioner's              vague      assertions              therefore            fall       short      of

  demonstrating how counsel's alleged failures had any bearing on

  Petitioner's decision to plead guilty.

         Having       reviewed         the    entirety         of    Petitioner's            briefing     on

  this       issue,        the    Court      finds    that          he     fails        to    demonstrate

  deficient performance or resulting prejudice.                                     The trial record

  reveals a clear and plausible                      defense          strategy,         and Petitioner

  opted to testify in direct support of such strategy.                                          While the

  strategy          proved       unsuccessful,       Petitioner             fails       to   present     any

  evidence          or argument        that     suggests        a    constitutional            deficiency

  in counsel's performance and/or advice.                                  Moreover,         even if such

  a     deficiency          is     presumed,      Petitioner               fails        to    demonstrate

  resulting prejudice as his broad and conclusory assertions that

  he was confused as to the mens rea elements and/or any possible

  affirmative              defenses       fails       to        demonstrate              a     reasonable


  probability of            a different outcome.                    Cf.    Dyess,     730 F.3d at        359

  (indicating that               "vague and conclusory allegations                           . . . may be




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  disposed of without further investigation").                                     Petitioner's third

  ground is therefore DENIED.

                                              D.   Ground Four


          Petitioner's              fourth     ground         for    relief       largely    tracks       his

  second ground (failure to challenge the jury verdict form and/or

  the     Court's          clarification            procedure);             however,        Petitioner's

  fourth ground is directed at appellate counsel rather than trial

  counsel.          For       the    same     reasons      discussed         above    in     Part    III.B,

  ground four fails.

          First,           Petitioner              fails        to      demonstrate            deficient

  performance            on    appeal       because      he     fails       to    establish       that    the

  "ignored         issues        are       clearly       stronger       than       those     presented."

  Lawrence          v.     Branker,          517     F.3d       700,        709     (4th     Cir.     2008)

  (quotation marks and citation omitted);                              see Smith v. Murray,               477

  U.S.    527,      536       (1986)       (indicating that the              "process of winnowing

  out weaker arguments on appeal and focusing on those more likely

  to    prevail,          far       from    being    evidence          of    incompetence,          is    the

  hallmark         of    effective          appellate         advocacy")          (internal       quotation

  marks       and        citation          omitted).           Second,       Petitioner           fails    to

  satisfy         Strickland's              prejudice          prong        because     he     fails       to

  demonstrate that an appellate challenge to the verdict form,                                             or

  the jury's alleged confusion filling out                                  such form,        would have

  led    to   a     different          outcome      on     appeal.          Lawrence,       517     F.3d at

  709.        To     the       contrary,       this      Court       already       denied     a     similar


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  argument        based        on     "alleged            jury        confusion"           in    response      to

  defense counsel's post-trial Rule 29 motion.                                     ECF No 130,           at 13-

  16.       Additionally,                on        appeal,       Petitioner           filed        a    pro    se

  supplemental            brief     with       the      Fourth        Circuit     asserting            that   his

  seven-year consecutive sentence on the firearm count was imposed

  in    violation         of    the      Supreme          Court's        then     recent         decision      in

  Alleyne      v.    United         States,         133    S.    Ct.    2151     (2013) .          Petitioner

  argued     in      support        of    such       claim       that     this    Court          "improperly"

  asked the jurors questions about the verdict form in open court

  and    that       it     should        have           instead        "simply     submitted            another

  verdict form to the jurors."                            ECF No.        194-1,       at    4.     The Fourth

  Circuit squarely addressed Petitioner's pro se claim as follows:

  "Because        the     jury specifically                  found      that     McGhee          brandished a

  firearm,        McGhee's          reliance         on    the    Supreme        Court's          decision     in

  Alleyne v.         United States,                133 S.       Ct.    2151    (2013),          lacks merit."

  United States v. McGhee,                     542 F. App'x 231,                233        (4th Cir.      2013) .

  Petitioner's            fourth      ground         for       relief     is     therefore         denied      as

  Petitioner            fails       to     demonstrate                constitutionally                 deficient

  performance or resulting prejudice.

                                               IV.      CONCLUSION


         For        the    reasons         discussed             above,        each        of    Petitioner's

  ineffective            assistance           of     counsel          claims      are       DENIED       on   the


  merits.           Finding       that     Petitioner            has     not     made       a    "substantial

  showing      of       the    denial         of    a     constitutional          right,"          as    to   any


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  claim    in     his     § 2255     motion,      a    certificate          of    appealability         is

  DENIED.       28 U.S.C.        § 2253(c)(2);         Miller-El       v.    Cockrell,         537   U.S.

  322,    336-38       (2003);     see R.    Governing § 2255 Proceedings in U.S.

  Dist.    Cts.     11(a).


          Petitioner is ADVISED that,                      because this Court has DENIED a

  certificate of              appealability with respect to his                     § 2255 motion,

  he     may    seek      a     certificate       from       the    United       States        Court    of

  Appeals for the Fourth Circuit.                          R. Gov.    § 2255 Proceedings for

  U.S.     Dist.         Cts.    11(a).          If    Petitioner           intends       to     seek     a

  certificate of appealability from the                            Court of Appeals,            he must

  forward a         written notice          of    appeal      to    the     Clerk of      the United

  States       District         Court,    United           States    Courthouse,          600    Granby

  Street,       Norfolk,        Virginia,        23510,      within       sixty    (60)    days        from

  the date of        this Opinion and Order.

          The Clerk is DIRECTED to forward a copy of this Opinion and

  Order to Petitioner,              Petitioner's former counsel,                    and the United

  States Attorney's Office in Newport News,                           Virginia.

          IT   IS   SO    ORDERED.




                                                                                   /s/  «&
                                                                            Mark   S.    Davis
                                                              UNITED      STATES    DISTRICT         JUDGE
  Norfolk,      Virginia
  April <£tQ , 2016




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